        Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 1 of 71




   IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
      BEFORE THE HONORABLE M. MILLER BAKER, JUDGE

HYUNDAI STEEL COMPANY,
                                                                NON-
                   Plaintiff,                                   CONFIDENTIAL
                                                                Proprietary
             v.                                                 Information
                                                                Contained in
UNITED STATES,                                                  Pages 38, 39, and
                                                                50.
                   Defendant,
                                                                 Ct. No. 22-00029
SSAB ENTERPRISES LLC,

                   and

NUCOR CORPORATION,

       Defendant-Intervenors.
DONGKUK STEEL MILL CO., LTD.,

                   Plaintiff,

             v.
                                                                 Ct. No. 22-00032
UNITED STATES,

                   Defendant,

             and

NUCOR CORPORATION,

                   Defendant-Intervenor.

PLAINTIFF HYUNDAI STEEL COMPANY’S BRIEF IN SUPPORT OF
   ITS MOTION FOR JUDGMENT ON THE AGENCY RECORD
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   Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 2 of 71




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       Case 1:22-cv-00029-MMB Document 38-2                     Filed 08/05/22       Page 3 of 71




                                   TABLE OF CONTENTS

I.      Introduction ...................................................................................... 2
II.     Statement Pursuant To Rule 56.2 ................................................... 2
III.    Issues Of Law Presented And Reasons For Contesting The
        Administrative Determination ........................................................ 3
IV.     Statement Of Facts .......................................................................... 3
V.      Summary Of Argument.................................................................. 10
VI.     Standard Of Review ....................................................................... 12
VII. Argument........................................................................................ 13
        A.      Commerce’s Determination That The GOK’s Provision Of
                Carbon Emission Permits To Hyundai Steel Constitutes A
                Countervailable Subsidy Is Unsupported By Substantial
                Evidence And Is Otherwise Contrary To Law. ..................... 14
                1.      The KETS Does Not Provide A Financial Contribution
                        Because There Is No Revenue Foregone That Is
                        Otherwise Due. ........................................................... 15
                        a. Commerce Misinterprets Unambiguous Language
                           Of The Tariff Act...................................................... 16
                        b. Commerce’s Interpretation Of “Otherwise Due” Is
                           Unreasonable. .......................................................... 27
                        c. Commerce’s Determination That Revenue Was
                           Foregone Is Unsupported By Substantial
                           Evidence. .................................................................. 29
                2.      The KETS Program Does Not Provide A Benefit to
                        Hyundai Steel. ............................................................ 34
                        a. The KETS Program Imposes Burdens On Hyundai
                           Steel. ........................................................................ 37
                        b. Commerce May Not Disregard The Burdens That
                           The KETS Imposes. ................................................. 42
                3.      The KETS Program Is Not Specific. ............................ 47
                        a. The KETS Is Not Specific Pursuant To Section
                           771(5A)(D)(i). ........................................................... 47

                                                     i
      Case 1:22-cv-00029-MMB Document 38-2                  Filed 08/05/22      Page 4 of 71




                       b. The KETS Meets The Requirements Of Section
                          771(5A)(D)(ii). .......................................................... 54
VIII. Conclusion And Relief Requested .................................................. 58
Certificate Of Compliance ....................................................................... 59




                                                  ii
      Case 1:22-cv-00029-MMB Document 38-2               Filed 08/05/22    Page 5 of 71




                             TABLE OF AUTHORITIES

                                                                                      Page(s)

Cases

Asociacion de Exportadores e Industiales de Aceitunas de
  Mesa v. United States,
  523 F. Supp. 3d 1393 (Ct. Int’l Trade 2021) .............................. passim

Asociacion de Exportadores e Industriales de Aceitunas de
  Mesa v. United States,
  429 F. Supp. 1325 (Ct. Int’l Trade 2020) ........................................... 53

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,
  467 U.S. 837, 104 S. Ct. 2778 (1984) .......................................... passim

Coalition of American Flange Producers v. United States,
  448 F. Supp. 3d. 1340 (Ct. Int’l Trade 2020) ...................................... 53

CS Wind Vietnam Co. v. United States,
  832 F.3d 1367 (Fed. Cir. 2016) ........................................................... 40

Delverde, Srl. v. United States,
  202 F. 3d 1360 (Fed. Cir. 2000) .......................................................... 26

Gerald Metals, Inc. v. United States,
  132 F. 3d 716 (Fed. Cir. 1997) ........................................................... 40

Gov’t Sri Lanka v. United States,
  308 F. Supp.3d 1373 (CIT 2018) ............................................. 26, 40, 43

Histeel Co. Ltd. v. United States,
  547 F. Supp. 3d 1233 (Ct. Int’l Trade 2021) ....................................... 28

Hyundai Steel Company v. United States,
  19 F.4th 1346 (Fed. Cir. 2021) ............................................................ 17

La. Pub. Service Comm’n v. F.C.C.,
  476 U.S. 355, 106 S. Ct. 1890 (1986) .................................................. 22



                                              iii
       Case 1:22-cv-00029-MMB Document 38-2                  Filed 08/05/22     Page 6 of 71




MCI Telecomms. Corp. v. AT&T Co.,
 512 U.S. 218, 114 S. Ct. 2223 (1994) .................................................. 18

SAS Inst., Inc. v. Iancu,
  138 S. Ct. 1348 (2018) ......................................................................... 17

SeAH Steel VINA Corp. v. United States,
  950 F.3d 833 (Fed. Cir. 2020) ............................................................. 56

Timex V.I., Inc. v. United States,
  157 F.3d 879 (Fed. Cir. 1998) ............................................................. 17

Timken Co. v. United States,
  894 F.2d 385 (Fed. Cir. 1990) ............................................................. 57

United States v. Menasche,
  348 U.S. 528, 75 S. Ct. 513 (1955) ..................................................... 22

Williams v. Taylor,
  529 U.S. 362, 120 S. Ct. 1495 (2000) .................................................. 22

Zenith Radio Corp. v. United States,
  437 U.S. 443, 98 S. Ct. 2441 (1978) .................................................... 42

Statutes

19 U.S.C. § 1516a(b)(1)(B)(i) ................................................................... 13

19 U.S.C. § 1677(5) .......................................................................... passim

19 U.S.C. § 1677(5A)(D) ................................................................. passim

19 U.S.C. § 1677(6) ............................................................................ 45, 46

Regulations

19 C.F.R. § 351.106(c).............................................................................. 10

19 C.F.R. § 351.503(b) ........................................................... 35, 36, 45, 46

Other Authorities

Black’s Law Dictionary ........................................................................... 18

                                                  iv
       Case 1:22-cv-00029-MMB Document 38-2                      Filed 08/05/22       Page 7 of 71




Certain Cut-To-Length Carbon Quality Steel Plate from the
  Republic of Korea: Final Results of Countervailing Duty
  Administrative Review; 2019, 87 Fed. Reg. 79 (Dep’t
  Commerce January 3, 2022) ....................................................... passim

Circular Welded Carbon-Quality Steel Pipe From the
   Socialist Republic of Vietnam: Final Negative
   Countervailing Duty Determination, 77 Fed. Reg. 64,471
   (Dep’t Commerce Oct. 12, 2012) ......................................................... 30

Countervailing Duties, 63 Fed. Reg. 65,348, (Dep’t
  Commerce Nov. 25 1998) ................................................. 43, 44, 45, 46

Final Negative Countervailing Duty Determination: Certain
  Cold-Rolled Carbon Steel Flat Products From Argentina,
  67 Fed. Reg. 62,106 (Dep’t Commerce Oct. 3, 2002) .......................... 29

Initiation of Antidumping and Countervailing Duty
   Administrative Reviews,
   85 Fed. Reg. 19,730 (Dep’t Commerce April 8, 2020) .......................... 3

Merriam-Webster Dictionary, ................................................................ 18

Uruguay Round Agreements Act, Statement of
  Administrative Action, H.R. Doc. No. 103–316, vol.1,
  (1994)................................................................................................... 43




                                                      v
     Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 8 of 71




        GLOSSARY OF ACRONYMS AND ABBREVIATIONS

1.      Act on the Allocation and Trading of Greenhouse-Gas
        Emissions (“AAGEP”)

2.      Cold-Rolled (“CR”)

3.      Corrosion Resistant (“CORE”)

4.      Countervailing Duty (“CVD”)

5.      Cut-To-Length (“CTL”)

6.      Emission Trading System (“ETS”)

7.      Government of Korea (“GOK”)

8.      Greenhouse Gas (“GHG”)

9.      Hot-Rolled (“HR”)

10.     Korean Allowance Units (“KAUs” or “permits”)

11.     Korean Emission Trading System (“KETS”)

12.     Korean Won (“KRW”)

13.     Less Than Adequate Remuneration (“LTAR”)

14.     Period of Review (“POR”)




                                   vi
   Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 9 of 71




 IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
    BEFORE THE HONORABLE M. MILLER BAKER, JUDGE

HYUNDAI STEEL COMPANY,
                                                           CONFIDENTIAL
          Plaintiff,                                       Proprietary
                                                           Information
    v.                                                     Contained in
                                                           Pages 38, 39, and
UNITED STATES,                                             50.

          Defendant,                                        Ct. No. 22-00029

SSAB ENTERPRISES LLC,

          and

NUCOR CORPORATION,

       Defendant-Intervenors.
DONGKUK STEEL MILL CO., LTD.,

          Plaintiff,

    v.
                                                            Ct. No. 22-00032
UNITED STATES,

          Defendant,

    and

NUCOR CORPORATION,

          Defendant-Intervenor.

PLAINTIFF HYUNDAI STEEL COMPANY’S BRIEF IN SUPPORT OF
   ITS MOTION FOR JUDGMENT ON THE AGENCY RECORD
      Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 10 of 71




I.     Introduction

       In accordance with Rule 56.2 of the Rules of this Court, and the

June 7, 2022, Scheduling Order, ECF No. 36, Plaintiff Hyundai Steel

Company (“Hyundai Steel” or “Plaintiff”) files this brief in support of its

Rule 56.2 motion for judgment upon the agency record. Scheduling

Order, Hyundai Steel Company v. United States, No. 22-00029 (Ct. Int’l

Trade June 7, 2022), ECF No. 36. As discussed below, the U.S.

Department of Commerce’s (“Commerce”) Final Results are

unsupported by substantial evidence and otherwise not in accordance

with law.

II.    Statement Pursuant To Rule 56.2

       The administrative determination under review is Commerce’s

Final Results in the administrative review of the countervailing duty

(“CVD”) order on cut-to-length carbon-quality steel plate (“CTL plate”)

from the Republic of Korea, Case No. C-580-837, issued by Commerce,

which covered entries of subject merchandise into the United States

during the January 1, 2019 and December 31, 2019 period of review

(“POR”). See Certain Cut-to-Length Carbon-Quality Steel Plate From

the Republic of Korea: Final Results of Countervailing Duty

                                     2
       Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 11 of 71




Administrative Review; 2019, 87 Fed. Reg. 79 (Dep’t Commerce

January 3, 2022) (“Final Results”), Appx1076–1077, and accompanying

Issues and Decision Memorandum, Appx1037–1075.

III.    Issues Of Law Presented And Reasons For Contesting The
        Administrative Determination
        1.   Whether Commerce’s determination that the GOK’s

provision of carbon emissions permits to Hyundai Steel constitutes a

countervailable subsidy is unsupported by substantial evidence and is

otherwise not in accordance with law.

IV.     Statement Of Facts
        On April 8, 2020, Commerce initiated an administrative review of

the CVD order on CTL plate from Korea. Initiation of Antidumping and

Countervailing Duty Administrative Reviews, 85 Fed. Reg. 19,730

(Dep’t Commerce April 8, 2020).

        On May 6, 2020, Commerce selected Hyundai Steel as the sole

mandatory respondent in this administrative review and issued initial

questionnaires to Hyundai Steel and the Government of Korea (“GOK”)

the following day. See Appx14598-14602. Hyundai Steel filed its

response to Commerce’s initial questionnaire on May 28, 2020. See

Appx1196.

                                      3
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 12 of 71




     On August 17, 2020, the petitioner, Nucor Corporation, filed a new

subsidy allegation alleging, inter alia, that the GOK provides carbon

emission permits for less than adequate remuneration (“LTAR”). See

Appx9230. On April 26, 2021, Commerce initiated an investigation into

the alleged provision of carbon emissions permits for LTAR, and issued

questionnaires to Hyundai Steel and GOK regarding the alleged

program. See Appx15438-15450. Hyundai Steel and the GOK

responded to the carbon emissions questionnaires on May 17, 2021. See

Appx11902; Appx10110.

     In its response, the GOK explained that it pledged to reduce its

greenhouse gas emissions (“GHG”) by 37 percent by 2030 pursuant to

the Paris Agreement. Appx10155. To implement the reduction in

GHG, the GOK established the Korea Emission Trading Scheme

(“KETS”) via the Act on the Allocation and Trading of Greenhouse-Gas

Emission Permits (“AAGEP”) and its Enforcement Decree. Appx11573-

11759; Appx11918-11925. Pursuant to the AAGEP companies that emit

a certain volume of carbon dioxide or equivalents (collectively, “carbon

equivalents”) are subjected to the KETS. Id. Specifically, entities that

emit 125,000 tons of carbon equivalents or that have a place of business


                                    4
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 13 of 71




that emits 25,000 tons or more carbon equivalents are subject to the

KETS (“subject entities”). Appx10161; Appx11583. Entities that do not

emit 125,000 tons of carbon equivalents or have no single place of

business that emits 25,000 tons or more worth of carbon equivalents are

not subject to the KETS. Appx10161; Appx10165; Appx11583;

Appx11919.

     To achieve its overall emissions reduction goals, the GOK

implemented emission reduction targets in phases. Phase One was

from 2015 to 2017. Appx.10155 n.4; Appx15496. Phase Two covers

2018 to 2020 and thus applied to the underlying review. Appx.10155

n.4; Appx15496. Through the KETS, the GOK calculates and allocates

Korean Allowance Units (“KAUs” or “permits”) to subject entities based

on the phase of the program, the number of permits available, and the

number of participants. Appx14330. The permit system is the means

by which the GOK sets carbon emissions caps because it requires

subject entities to surrender the number of permits equivalent to their

actual emissions levels at the end of each compliance year or else face

substantial fines. Appx10142. Over time, the GOK reduces the amount

of permits available. Appx14330. As a part of the mandatory


                                    5
       Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 14 of 71




application for permits, companies must develop and report plans

regarding fuel consumption and reducing greenhouse gas emissions.

Appx11920. After reviewing applications, the GOK assigned an amount

of permits to companies in Phase Two, based on their carbon emissions

from 2014 to 2016, which is referred to as the “base period.”

Appx10141.

        The GOK “unconditionally” allocates 100 percent of permits to

entities that meet certain “trade intensity” or “production cost” criteria.

Appx10143. Those criteria provide that a subsector may receive 100

percent of its assigned permits if (i) it has a “trade intensity” of thirty

percent; (ii) its production costs are at least thirty percent; or (iii) it has

a “trade intensity” of at least ten percent and production costs that are

at least five percent.1 Appx1052; Appx10139-10140; Appx11638. If an

entity does not meet the “trade intensity” or “production cost” criteria,

the GOK deducts 3 percent of its permit allocation to be set aside in




   1Trade intensity is equal to average annual exports plus average
annual imports divided by average annual sales plus average annual
imports. Appx10139. Production costs are equal to the annual average
emission quantity multiplied by the market price for permits divided by
the value-added during the base period. Appx10140.

                                       6
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 15 of 71




reserve, i.e., they are allocated 97 percent. Appx10139; Appx10142;

Appx10156; Appx11638.

     If a subject entity does not have sufficient permits to cover its

annual emissions by the end of each compliance year, it must acquire

additional permits to surrender or be subject penalties. Appx10144;

Appx11598. Entities may carry-forward unused permits from prior

years, borrow its own permits from future years, and may earn credits

by reducing greenhouse gas emissions. Appx10142; Appx11911;

Appx14331. Entities may purchase permits on the open market from

non-governmental third parties, but also have the option of purchasing

permits from a government auction. Appx10142; Appx10144;

Appx12537; Appx14153; Appx14155. The vast majority of exchanged

permits, approximately eighty percent, are traded privately rather than

being purchased from the GOK-run auctions. Appx14430-14431; see

also Appx10144; Appx14154. Entities do not need to purchase permits

if their annual emissions do not exceed the amount of their allocated

permits. Appx12537.

     During the POR, Hyundai Steel was allocated 100 percent of its

assigned permits because it met the trade intensity and production cost


                                    7
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 16 of 71




criteria. Appx11919-11920. Additionally, Hyundai Steel’s actual

emissions exceeded its allocated permits and thus Hyundai Steel

purchased additional permits from private parties at significant

expense. Appx10158. Hyundai Steel did not purchase any permits

from the GOK. Appx10144.

     On October 19, 2021, Commerce issued its Post-Preliminary

Analysis Memorandum. See Appx14328-14359. In its Post-Preliminary

Analysis Memorandum, Commerce preliminarily determined that the

GOK relieved companies who received the additional 3 percent

allocation from the financial burden of purchasing the additional

permits. Appx14332. Additionally, Commerce found that the GOK

provides “something of value on which it could collect . . . revenue”

because companies could purchase the additional permits from a GOK-

run auction. Id. Commerce also determined that the program was de

jure specific because companies that meet the trade intensity or

production cost criteria automatically qualify for the additional 3

percent allocation. Id.

     On November 4, 2021, Hyundai Steel filed its case brief. See

Appx14411. Hyundai Steel argued that the KETS places a significant


                                    8
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 17 of 71




burden and costs on those subject to it and thus did not provide a

benefit to Hyundai Steel. Appx14421-14427. Specifically, Hyundai Steel

explained that it had to purchase additional credits to meet its actual

level of emissions at a significant financial burden. Appx14424-14425.

Hyundai Steel also argued that the GOK’s provision of the additional 3

percent allocation to Hyundai Steel did not constitute a financial

contribution because no revenue would have been “otherwise due” to the

GOK. Appx14427-14433. Finally, Hyundai Steel argued that the

additional 3 percent allocation of emissions permits is not de jure

specific because it merely allocates the additional permits based on

production and trade criteria but does not limit access to the permits.

Appx14433-14436. Any industry or enterprise may purchase the

additional permits. Appx14434.

     In the Final Results, Commerce found that the provision of the

additional 3 percent of carbon emissions permits was countervailable.

Appx1047. Specifically, Commerce found that a financial contribution

existed because the GOK was forgoing revenue otherwise due for the

additional 3 percent allocation. Appx1050. Commerce also found that

the provision of carbon emission credits was de jure specific because the


                                    9
     Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 18 of 71




criteria establish that some industries may receive the additional 3

percent credits while others do not. Appx1052. The benefit was

calculated as the difference between Hyundai Steel’s receipt of 100

percent of its emissions permit allocation, and the standard 97 percent

allocation. Appx1051.

      Commerce calculated a 0.10 percent ad valorem subsidy for the

carbon emissions program and, in total, calculated a subsidy rate of

0.56 percent for Hyundai Steel. Appx1076-1077. This was over the de

minimis threshold. The issue raised in this appeal is of the utmost

importance to Hyundai Steel given that this program is the difference

between receiving a de minimis subsidy rate or one that is just above de

minimis. De minimis means Hyundai Steel receives refunds of all the

CVD cash deposits it paid in calendar year 2019; over de minimis

means it does not. See 19 C.F.R. § 351.106(c).

V.    Summary Of Argument

      In its Final Results, Commerce fails to establish any of the

elements for the KETS to be a countervailable subsidy.

      First, the KETS program does not provide a financial contribution

because the GOK did not forego any revenue it was “otherwise due.”


                                    10
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 19 of 71




The permits were provided to set a cap on Hyundai Steel’s emissions,

and not to provide revenue to the GOK. At the time the GOK allocated

the emissions permits to Hyundai Steel there was no definite

expectation that the government was foregoing any revenue that was

otherwise due. The additional 3 percent provided to Hyundai Steel was

not destined for sale at the GOK auction, nor was it even certain that

they would generate any revenue for the GOK. The statute governing

financial contributions requires that the revenue foregone must be

“otherwise due” to the GOK. Commerce has unlawfully interpreted the

plain language of the applicable statute by expanding its meaning to

cover the situation here where there was never any revenue actually

due to the GOK.

     Second, this program did not provide a “benefit” to Hyundai Steel.

Instead, mandatory participation in this program imposed burdens on

Hyundai Steel in the form of increased costs and competitive

disadvantage against foreign companies, including those in the United

States, that are not subject to a nationwide carbon reduction regime.

The KETS mandates that Hyundai Steel submit permits to the GOK to

cover its carbon emissions during each compliance year. If Hyundai


                                   11
      Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 20 of 71




Steel needs more permits than it was allocated then it must purchase

additional permits to cover the shortfall, or pay a penalty. In this way,

the KETS operates as a restriction on companies’ carbon emissions and

creates a costly and burdensome system for compliance. As a company

subject to this program, Hyundai Steel had to expend significant funds

during the POR in order to remain compliant. This is not a

countervailable benefit.

       Finally, the KETS program is not de jure specific under the

statute, as its implementing legislation does not explicitly restrict or

limit the allocation of additional permits to a specific industry or

enterprise.

       Accordingly, and for the reasons described below, Commerce’s

determination that the provision of KETS permits constitutes a

countervailable subsidy is unsupported by substantial evidence and not

in accordance with law.

VI.    Standard Of Review
       In reviewing a challenge to Commerce’s determination in a CVD

administrative review, the Court “shall hold unlawful any

determination, finding or conclusion found . . . to be unsupported by


                                    12
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 21 of 71




substantial evidence on the record, or otherwise not in accordance with

the law.” 19 U.S.C. § 1516a(b)(1)(B)(i).

VII. Argument
     In an effort to fight climate change, certain countries like Korea

have established cap and trade regulatory systems to reduce carbon

emissions. Although created to comply with the GOK’s commitments

under the Paris Agreement, this cap and trade system imposes

significant costs on the companies required to participate, as they must

adjust their operations to lower their carbon footprint. Korean

companies like Hyundai Steel that are subject to these restrictions must

compete with, among others, U.S. companies that are not subject to a

nationwide cap and trade or other regulatory system that forces them to

lower their carbon emissions. In treating Korea’s cap and trade system

as countervailable, Commerce is discouraging and penalizing countries

like Korea that are trying to lower global carbon emissions in the fight

against climate change.

     While this Court is not a policy maker, it is important to consider

this context when reviewing whether Commerce’s decision to

countervail Korea’s carbon emissions programs is unlawful. Hyundai


                                   13
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 22 of 71




Steel submits that Commerce’s decision runs contrary to the very

purpose of the CVD law, which is to level the playing field between U.S.

companies and foreign competitors. Commerce’s decision to impose

countervailing duties for participation in Korea’s cap and trade system

puts Korean companies such as Hyundai Steel at an even further

competitive disadvantage vis-à-vis U.S. companies and thus unfairly

tilts the competitive landscape in favor of U.S. companies.

     Hyundai Steel thus respectfully requests that the Court carefully

analyze Commerce’s decision within this context to determine whether

it is unsupported by substantial evidence and is otherwise not in

accordance with the CVD law. Hyundai Steel submits that it is.

     A.    Commerce’s Determination That The GOK’s Provision Of
           Carbon Emission Permits To Hyundai Steel Constitutes A
           Countervailable Subsidy Is Unsupported By Substantial
           Evidence And Is Otherwise Contrary To Law.

     A countervailable subsidy exists when (1) a government or public

authority has provided a financial contribution; (2) a benefit is thereby

conferred upon the recipient of the financial contribution; and (3) the

subsidy is specific to a foreign enterprise or foreign industry, or a group

of such enterprises or industries. See 19 U.S.C. § 1677(5)(B) & (5A). In

the Final Results, Commerce found that the provision of carbon

                                    14
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 23 of 71




emission permits to Hyundai Steel constituted a countervailable

subsidy. Commerce determined that the 100 percent allocation of

Hyundai Steel’s assigned permits, instead of 97 percent, constitutes a

financial contribution from the GOK in the form of revenue foregone

that was otherwise due, a benefit was conferred to Hyundai Steel based

on the 3 percent differential, and the program is de jure specific. As

demonstrated below, Commerce’s decision errs on all three counts.

           1.    The KETS Does Not Provide A Financial Contribution
                 Because There Is No Revenue Foregone That Is
                 Otherwise Due.
     In the Final Results, Commerce determined that the GOK’s 100

percent allocation of emissions permits to Hyundai Steel constitutes a

financial contribution. Appx1050-1051; Appx14332. Specifically,

Commerce determined that the additional 3 percent of the permits

allocated to Hyundai Steel that was not allocated to other subject

entities was a financial contribution because it constituted revenue

foregone by the GOK pursuant to section 771(5)(D)(ii) of the Tariff Act

of 1930, as amended, (“Tariff Act”), 19 U.S.C. § 1677(5)(D)(ii).

Appx1050-1051. However, in so concluding Commerce misinterpreted

the rest of this subpart of the statute, which specifically limits Section


                                    15
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 24 of 71




771(5)(D)(ii) financial contributions to situations where the GOK is

“foregoing or not collecting revenue that is otherwise due, such as

granting tax credits or deductions from taxable income.” 19 U.S.C.

§ 1677(5)(D)(ii) (emphasis added). Commerce failed to interpret this

statutory language as requiring that the alleged revenue be “otherwise

due” to the GOK from the additional 3 percent of emissions permits

allocated to Hyundai Steel.

                 a. Commerce Misinterprets Unambiguous Language
                    Of The Tariff Act.
     When evaluating an agency’s interpretation of a statute, this

Court must first determine “whether Congress has directly spoken to

the precise question at issue.” Chevron, U.S.A., Inc. v. Nat. Res. Def.

Council, Inc., 467 U.S. 837, 842, 104 S. Ct. 2778, 2781 (1984). Here,

“Congress has directly spoken to the precise question at issue” by

limiting Section 771(5)(D)(ii) of the Tariff Act to “revenue that is

otherwise due.” 19 U.S.C. § 1677(5)(D)(ii). Hyundai Steel submits that

this statutory language is clear and that this Court must give effect to

that unambiguous plain language. See Asociación de Exportadores e

Industriales de Aceitunas de Mesa v. United States, 523 F. Supp. 3d

1393, 1403 (Ct. Int’l Trade 2021) (“ASEMESA”) (citing Timex V.I., Inc.

                                    16
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 25 of 71




v. United States, 157 F.3d 879 (Fed. Cir. 1998)) (“Chevron requires that

the court begin with the plain meaning of the statute.”).

     For a statute to be considered silent or ambiguous, “there must be

a ‘gap left, implicitly or explicitly, by Congress’ that Commerce is

entitled to fill.” Hyundai Steel Co. v. United States, 19 F.4th 1346,

1354 (Fed. Cir. 2021); see also SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348,

1358 (2018) (“Even under Chevron, we owe an agency's interpretation of

the law no deference unless, after ‘employing traditional tools of

statutory construction,’ we find ourselves unable to discern Congress's

meaning.”) (emphasis in original). Subsection (ii) of Section 771(5)(D) is

not silent and leaves no gap for Commerce to fill regarding whether

revenue must be “otherwise due” for a financial contribution to be

found. The relevant text of Section 771(5)(D)(ii) provides:

     The term “financial contribution” means—

           (ii) Foregoing or not collecting revenues that is
           otherwise due, such as granting tax credits or
           deductions from taxable income.

     19 U.S.C. § 1677(5)(D) (emphasis added). The statute thus plainly

requires that, for a financial contribution to exist, the foregone revenue

must be “otherwise” “due” to the government.



                                    17
      Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 26 of 71




       Dictionary definitions are a traditional tool of statutory

interpretation employed by courts to determine the plain meaning of

statutory terms. See, e.g., MCI Telecomms. Corp. v. AT&T Co., 512

U.S. 218, 227-29, 114 S. Ct. 2223, 2229-2231 (1994); ASEMESA, 523 F.

Supp. 3d at 1403. Merriam-Webster defines “due” as “owed or owing as

a debt,” “owed or owing as a natural or moral right,” and “satisfying or

capable of satisfying a need, obligation, or duty.” Due, Merriam-

Webster Dictionary, https://www.merriam-webster.com/dictionary/due

(last visited on July 22, 2022) (attached as Exhibit A).2 Black’s Law

Dictionary defines “due” as “owing or payable; constituting a debt.”

Due, BLACK’S LAW DICTIONARY (8th ed. 2004). Merriam-Webster defines

“otherwise” as “in different circumstances,” and “to suggest an

indefinite alternative.” Otherwise, Merriam-Webster Dictionary,

https://www.merriam-webster.com/dictionary/otherwise (last visited

July 22, 2022) (attached as Exhibit B). The plain meaning of the

statute thus requires that a financial contribution pursuant to Section

771(5)(D)(ii) exists only if the GOK had a “right” to collect revenue from


  2 Pursuant to the practice comment in Rule 81 of the Rules of the
U.S. Court of International Trade, Plaintiff attaches hereto printouts of
the cited internet-based definitions.

                                     18
    Case 1:22-cv-00029-MMB Document 38-2     Filed 08/05/22   Page 27 of 71




Hyundai Steel and Hyundai Steel would have “owed” revenue to the

GOK as a result of an “obligation or duty” absent the allocation of

permits that it actually received.

     The statutory examples of foregone revenue otherwise due, “tax

credits” or “deductions from taxable income,” confirm this

interpretation. 19 U.S.C. § 1677(5)(D)(ii). These statutory examples

represent government actions that reduce or relieve a taxpayer of taxes

that they are otherwise legally required to pay to the government. That

is, “but for” the provision of the tax credit or tax deduction, the

government would be legally entitled to receive the additional tax

revenue. The taxpayer legally owes the government the taxes and, by

reducing that tax burden, the government is foregoing revenue that is

otherwise payable or owed.

     By contrast, under the KETS program there is no expected

revenue otherwise due to the GOK. Rather, it is unknown at the time

the permits are issued whether the recipient will need all of the permits

to cover their emission reduction obligations, or whether they will need

to purchase additional permits from private parties or through the GOK

auction. The purpose of issuing the emissions permits is to set a cap on


                                     19
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 28 of 71




the recipient’s carbon emissions and to provide an incentive for their

reduction. So the expectation, if there is one, is that the recipient will

reduce its carbon emissions below the amount of permits issued and

thereby accomplish the goals of the KETS program. Unlike tax

revenue, which is required for the government to exist and function, the

emission permits are not for government revenue generation. In

providing an additional 3 percent of emissions permits to Hyundai

Steel, the GOK is not foregoing any revenue that it expects or is legally

entitled to receive.

      Hyundai Steel did not owe revenue to the GOK before its

emissions permit allocation or after its allocation. Rather, the GOK

capped Hyundai Steel’s carbon emission output with the permit

allocation it deemed applicable through criteria unrelated to any

revenue collectable from Hyundai Steel. Appx11583; Appx11638.

Whether the GOK applied the same carbon emissions cap on other

companies is irrelevant to the issue of whether the GOK had a right to

collect revenue from Hyundai Steel. Through the emissions trading

system, the GOK sets the amount of carbon emissions under which

entities are capped by “unconditionally” allocating permits at different


                                     20
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 29 of 71




levels to entities that meet certain criteria. Appx11583; Appx11638;

Appx10143. An entity who exceeds its allocated cap can borrow permits

from itself, and has the option to purchase additional permits from

private parties in the market or the GOK. Appx10142; Appx10144;

Appx12538; Appx14155. No revenue “due” to the GOK results from the

allocation. At most, the difference between the 100 percent and 97

percent allocations demonstrates that the AAGEP sets different

emissions limits and associated costs for different companies who are

required to participate, but the difference does not represent “revenue

otherwise due” to the GOK as required by statute.

     If the GOK had allocated Hyundai Steel 97 percent of its assigned

permits, and not 100 percent, Hyundai Steel would not automatically

owe the GOK revenue. Hyundai Steel would not have been obligated to

purchase any permits beyond the 97 percent amount allocated. It could

have emitted 97 percent, or less than the 97 percent allocation.

Appx12537. If it needed to acquire more permits, it would have had the

choice whether to acquire additional permits from the market or borrow

permits from future compliance years rather than the GOK.

Appx10142; Appx10144; Appx12538; Appx14155. Thus, Hyundai Steel


                                   21
    Case 1:22-cv-00029-MMB Document 38-2     Filed 08/05/22   Page 30 of 71




would have had no obligation or duty to pay revenue to the GOK due to

the permit allocation. Indeed, Commerce admitted that parties who

receive the 97 percent allocation are “not obligated” to purchase permits

from the GOK. Appx14331; Appx14155.

     Commerce’s interpretation of the statute to permit an affirmative

finding of financial contribution in such a situation is contrary to the

unambiguous language in the statute and the express intent of

Congress. It is “a cardinal principle of statutory construction . . . {to}

‘give effect, if possible, to every clause and word of a statute.’” Williams

v. Taylor, 529 U.S. 362, 404, 120 S. Ct. 1495, 1519 (2000) (quoting

United States v. Menasche, 348 U.S. 528, 538-39, 75 S. Ct. 513, 520

(1955)). Since the agency can only act in such a manner as its

authorizing statute allows it, a statutory limitation confers a limitation

on the agency’s authority to act. See e.g., La. Pub. Service Comm’n v.

F.C.C., 476 U.S. 355, 374, 106 S. Ct. 1890, 1901 (1986) (“{A}n agency

literally has no power to act . . . unless and until Congress confers

power upon it.”). For an agency to act otherwise would be “to expand its

power in the face of a congressional limitation on its jurisdiction” and to

override Congress, which the agency cannot do. La. Pub. Service


                                     22
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 31 of 71




Comm’n, 476 U.S. at 375. Congress placed a limitation on Commerce’s

ability to act by adding the words “otherwise due” after “foregoing or not

collecting revenue.” 19 U.S.C. § 1677(5)(D)(ii).

     In response to this argument, Commerce explained why the

additional 3 percent allocation constitutes revenue foregone that is

otherwise due to the GOK. Specifically, Commerce explained:

     Commerce notes that when evaluating revenue foregone that
     would have been otherwise {due}, it is not a matter of what
     the GOK would have done with the KAUs had they not given
     them to qualifying entities like Hyundai Steel. Rather, the
     key consideration is that, in lieu of giving these entities the
     additional KAUs for free, the GOK would have received
     revenue from said entities, which are treated differently from
     all other entities that receive the standard 97 percent
     allocation, and who would otherwise be required to purchase
     the additional KAUs.

Appx1051. This explanation exposes the error in Commerce’s analysis

and statutory interpretation of foregone revenue that is otherwise due.

     According to Commerce, the key consideration is that if the GOK

had not given Hyundai Steel and other qualifying entities the

additional 3 percent, the GOK would have received revenue from those

entities, i.e., they would have been required to purchase that 3 percent

from the GOK. This underlying assumption is entirely speculative.

There is nothing in the AAGEP or its Enforcement Decree that supports

                                    23
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 32 of 71




the conclusion that the GOK would have received additional revenue

from Hyundai Steel if the GOK had not provided Hyundai Steel with

the additional 3 percent. Hyundai Steel was not legally required to

purchase additional permits from the GOK auction. And when the

GOK allocated the additional 3 percent permits there was no basis to

know whether Hyundai Steel would reduce its emissions during the

relevant period to 97 percent or lower, or whether it would exceed that

baseline emissions allocation. There is thus no basis to assume that the

GOK would have received revenue from Hyundai Steel had it not

provided it with an additional 3 percent emissions permit allocation.

     As characterized by Commerce in the Final Results, revenue was

otherwise due to the GOK because, allegedly, “the GOK is able to collect

revenue on additional {permits}” that “entities may need to purchase”

and therefore the GOK provides “something of value on which it could

collect revenue.” Id. (emphasis added). The Final Results then

conclude, without explanation that “the GOK would have received

revenue from said entities.” Appx1051 (emphasis added). Again, this

explanation fails to demonstrate that Hyundai Steel owed the GOK

revenue for its allocation of permits had it been allocated 97 percent


                                   24
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 33 of 71




rather than 100 percent. The allocation results in no revenue due to the

GOK regardless of the amount allocated to Hyundai Steel. Moreover,

the Final Results unreasonably leap from the possibility that the GOK

could collect revenue to the alleged certainty that revenue was owed.

     While Commerce attempts to explain that “it is not a matter of

what the GOK would have done” with the permits “had they not given

them to {Hyundai Steel},” such explanation fails to establish that

revenue was owed to or foregone by the GOK as unambiguously

required by the statute. Id. “{W}hat the GOK {and Hyundai Steel}

would have done” is precisely what Congress requires Commerce to

consider by requiring it to find that revenue would have been

“otherwise due.” Id. (emphasis added); 19 U.S.C. § 1677(5)(D)(ii)

(emphasis added). Commerce must find substantial evidence that, had

circumstances been otherwise, the GOK would have in fact collected

revenue from Hyundai Steel that was otherwise due. Commerce did not

do so in the Final Results.

     Commerce also claims that Hyundai Steel failed to refute the fact

that “certain enterprises are placed in an advantageous position in

relation to others” due to the 3 percent allocation difference. Appx1050.


                                   25
    Case 1:22-cv-00029-MMB Document 38-2     Filed 08/05/22   Page 34 of 71




However, this “basic fact” proffered by Commerce relates to the benefit

element of a countervailable subsidy, 19 U.S.C. § 1677(5)(E), not

whether revenue is foregone by the government for financial

contribution purposes under 19 U.S.C. § 1677(5)(D)(ii). Section

771(5)(D) and (E) contemplate that financial contribution and benefit

are distinct concepts. Gov’t Sri Lanka v. United States, 308 F. Supp.3d

1373, 1381 (Ct. Int’l Trade 2018) (“GOSL”); see also Delverde, Srl. v.

United States, 202 F. 3d 1360, 1366 (Fed. Cir. 2000) (“{T}he statute

clearly requires that in order to find that a person received a subsidy,

Commerce determine that that person received . . . both a financial

contribution and benefit, either directly or indirectly, by means of one of

the acts enumerated.”). Hyundai Steel’s relative permit allocation vis-

à-vis other companies subject to the AAGEP thus does not support the

existence of a financial contribution from revenue foregone that is

otherwise due.

     Pursuant to Chevron step one that is the end of the matter.

Chevron, 467 U.S. at 842-43 (“If the intent of Congress is clear, . . . the

court, as well as the agency, must give effect to the unambiguously

expressed intent of Congress.”). The plain language of the statute


                                     26
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 35 of 71




requires that the allegedly foregone revenue otherwise be “due” to the

government, i.e., that the revenue was actually or certainly owed the

government. Commerce was thus required to give effect to this

unambiguous statutory language, but failed to do so in the Final

Results. Instead, Commerce misinterpreted and misapplied this plain

statutory definition and instead interpreted the “otherwise due”

language to capture revenue that was not actually or certain to be due

to the government. This was legal error. 19 U.S.C. § 1677(5)(D)

unambiguously requires that, in order for a financial contribution to be

found pursuant to subsection (ii), Commerce must find by substantial

evidence that, but for the varying levels of allocation, Hyundai Steel

affirmatively owed a debt to the GOK and the GOK had a right to

collect thereon. Commerce erroneously interprets the statute to permit

its finding of a financial contribution where there is no evidence that

revenue was otherwise due to the GOK. The Final Results are thus not

in accordance with law.

                 b. Commerce’s Interpretation Of “Otherwise Due” Is
                    Unreasonable.

     As demonstrated, 19 U.S.C. § 1677(5)(D)(ii) unambiguously

provides that Commerce may only find a financial contribution in the

                                    27
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 36 of 71




form of revenue foregone if revenue was in fact otherwise due.

However, if the Court finds that the statute is ambiguous regarding the

revenue otherwise due, the Court should nonetheless find that

Commerce’s interpretation is unreasonable. Pursuant to step two of

Chevron, “if a statute does not ‘directly speak’ to the issue at hand, the

court must determine whether the agency’s interpretation of the statute

was ‘reasonable,’ meaning that the interpretation is not ‘arbitrary,

capricious, or manifestly contrary to the statute.’” Histeel Co., Ltd. v.

United States, 547 F. Supp. 3d 1233, 1244 (Ct. Int’l Trade 2021); see

also Chevron, 467 U.S. at 843.

     The GOK regulates carbon emissions by setting levels of carbon

emission caps through the varying allocations of permits depending on

whether entities meet certain trade intensity or production cost criteria.

Appx11583; Appx11638. As explained, the GOK unconditionally

allocated 100 percent of the permits assigned to Hyundai Steel.

Appx10143. No revenue is otherwise due based on the number of

permits allocated. Nor is there any expectation that the GOK could

collect revenue from parties that receive the 97 percent allocations

because there is no guarantee that an entity’s emissions will exceed its


                                    28
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 37 of 71




allocated cap so that purchase of permits is necessary, and parties who

exceed their allocated amounts have the option to borrow or purchase

from non-governmental third parties. Appx10142; Appx10144;

Appx12537. An interpretation of the statute that permits the finding of

a financial contribution pursuant to 19 U.S.C. § 1677(5)(D)(ii) where

revenue is not otherwise obligatory is arbitrary, capricious, and

manifestly contrary to the statute contrary to the requirements of

Chevron. See Chevron, 467 U.S. at 845.

                 c. Commerce’s Determination That Revenue Was
                    Foregone Is Unsupported By Substantial Evidence.

     In order to give meaning to the “otherwise due” language of the

statute, Commerce must point to substantial evidence that shows that

the alleged revenue foregone was actually “due” to the government. See

19 U.S.C. § 1677(5)(D)(ii); see also Final Negative Countervailing Duty

Determination: Certain Cold-Rolled Carbon Steel Flat Products From

Argentina, 67 Fed. Reg. 62,106 (Dep’t Commerce Oct. 3, 2002) and

accompanying Issues and Decision Memorandum at Comment 5

(finding no financial contribution where “there is no evidence that the

{Government of Argentina} failed to receive any revenue it would

otherwise receive.”); Circular Welded Carbon-Quality Steel Pipe From

                                   29
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 38 of 71




the Socialist Republic of Vietnam: Final Negative Countervailing Duty

Determination, 77 Fed. Reg. 64,471 (Dep’t Commerce Oct. 22, 2012) and

accompanying Issues and Decision Memorandum at Comment 3

(“Imports of raw materials, spare parts and accessories, and fixed assets

by {the respondent} are not subject to duties in Vietnam and, therefore,

the {Government of Vietnam} has not foregone revenue.”). No such

evidence exists on this record.

     The Final Results err by assuming that any of the permits

allocated to Hyundai Steel above 97 percent of its allowance constitutes

revenue that the GOK would have otherwise been due, i.e., Commerce

assumes that Hyundai Steel would have purchased the additional 3

percent from the GOK. Appx1051. In doing so, Commerce

misconstrues the consequences of the permit allocation. The GOK

assigns the full amount (100 percent) of permits to every entity subject

to the KETS program. Appx14330. Only after assigning 100 percent to

every subject entity will the GOK set aside in “reserve” 3 percent when

it allocates permits to entities that are not “trade intensive.”

Appx10142; Appx14333. However, setting aside in “reserve” does not




                                     30
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 39 of 71




mean that every permit set aside will be purchased at auction, or even

designated for such purpose.

     The GOK explained that its “reserve” permits are “used for several

purposes, including to provide permits to new entrants and to

participants that {have} constructed or expanded {their} facilities.”

Appx10141. The “reserve” in Phase Two also includes an additional

14,000,000 permits to stabilize the emission permit market and

5,000,000 permits for market operations. Appx10141; Appx15501

(describing the “{t}ypes and operation methods of spare portions”).

Each permit allocated above 97 percent would have been part of this

larger pool of permits used for multiple purposes, in addition to

auctions, and thus would not have necessarily been auctioned by the

GOK. These permits therefore do not represent revenue “otherwise

due” to the GOK as they could have been used in a variety of ways that

would not have generated any revenue for the GOK.

     In addition, as Commerce describes, there are five ways that

companies can acquire additional permits to cover shortfalls between

their allocated permits and their actual emissions levels without any

involvement by the GOK, if they even exceed their allocated emission


                                    31
      Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 40 of 71




permits. Appx14331. For those only receiving 97 percent of their

allowances, they may participate in government auctions, but they are

not required to do so and instead may turn to the private market to

cover their shortfall. Appx10144. As Commerce admits, parties are

“not obligated to purchase from the GOK-run auction” additional

permits. Appx14155; Appx14331. Furthermore, some of those

companies may have sufficiently reduced their emissions such that they

do not need additional permits beyond the 97 percent and may have

spare permits that they can transfer to the next compliance year or sell

to other entities in the market. Appx10142; Appx12537; Appx14332.

       The record shows that Hyundai Steel’s emissions exceeded the 100

percent emissions permit amount and thus it was required to either

acquire additional permits or pay a penalty. Appx11921. Hyundai

Steel purchased all of its additional permits from private parties in the

marketplace. Appx12056; Appx13882-13883.3 This fact undercuts the

assumption that, but for the additional 3 percent allocation, Hyundai




  3Private sales of permits are conducted through the ETS Market
Exchange or “over-the-counter” transactions. Appx14153.

                                    32
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 41 of 71




Steel would have purchased permits from the GOK auction and thus

that the GOK was foregoing revenue otherwise due.

     The Final Results thus fail to support the determination that the

GOK has in fact foregone revenue due from Hyundai Steel. At best,

Commerce can show that Hyundai Steel would have had the option to

purchase additional permits from the GOK just as it could purchase

permits from any other third party. Appx1051 (“The GOK is providing

something of value on which it could collect revenue.”) (emphasis

added); Appx10144. But the fact that it would have had the option to

purchase permits from the GOK does not evidence that Hyundai Steel

was obligated to pay the GOK revenue as a result of the 97 percent

allocation. Commerce’s determination assumes, without evidence, that

had Hyundai Steel been allocated 97 percent of its assigned permits

instead of 100 percent, Hyundai Steel must have purchased permits

from the GOK. Appx1050-1051. The record cannot support such a

finding, and only shows that the revenue that the GOK could have

collected from Hyundai Steel was otherwise due.




                                  33
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 42 of 71




           2.   The KETS Program Does Not Provide A Benefit to
                Hyundai Steel.

     Commerce determined that the 100 percent allocation to Hyundai

Steel confers a countervailable benefit, Appx1047-1049, and calculated

the countervailable subsidy rate applicable to the KETS based on the

additional 3 percent allocation, Appx1053; Appx14353. In doing so,

however, Commerce failed to recognize the KETS program for what it

really is—a burden imposed on Hyundai Steel and other Korean

companies to curb their carbon emissions. By selectively reviewing the

program based on the relative allocation among only those subjected to

the program, Commerce ignores the immense burden this program

places on companies like Hyundai Steel and the fact that Hyundai Steel

is subject to the program whereas other companies are not. This

program provides no “benefit.”

     Section 771(5)(E) states:

     A benefit shall normally be treated as conferred where there
     is a benefit to the recipient, including—

           (i) in the case of an equity infusion, if the investment
           decision is inconsistent with the usual investment
           practice of private investors, including the practice
           regarding the provision of risk capital, in the country in
           which the equity infusion is made,



                                   34
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 43 of 71




           (ii) in the case of a loan, if there is a difference between
           the amount the recipient of the loan pays on the loan
           and the amount the recipient would pay on a comparable
           commercial loan that the recipient could actually obtain
           on the market,

           (iii) in the case of a loan guarantee, if there is a
           difference, after adjusting for any difference in
           guarantee fees, between the amount the recipient of the
           guarantee pays on the guaranteed loan and the amount
           the recipient would pay for a comparable commercial
           loan if there were no guarantee by the authority, and

           (iv) in the case where goods or services are provided, if
           such goods or services are provided for less than
           adequate remuneration, and in the case where goods are
           purchased, if such goods are purchased for more than
           adequate remuneration.

19 U.S.C. § 1677(5)(E).

     Nowhere in the Final Results does Commerce explain which

provision of Section 771(5)(E) considers the 100 percent allocation of

permits to be a benefit conferred because none of them are applicable.

Appx1048-1049; Appx1053. However, in its Post-Preliminary Results

Commerce found that a benefit exists under 19 C.F.R. § 351.503(b)(2),

which is the “catch-all” regulation that defines “other subsidies” since

the examples specifically outlined in section 771(5)(E) are not meant to

be exhaustive. 19 C.F.R. § 351.503(b)(2) provides:

     For other government programs, the Secretary normally will
     consider a benefit to be conferred where a firm pays less for

                                    35
      Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 44 of 71




       its inputs (e.g., money, a good, or a service) than it otherwise
       would pay in the absence of the government program, or
       receives more revenues than it otherwise would earn.

       In its Post-Preliminary Results, Commerce found that subsection

503(b)(2) applied to the permit allocation because Hyundai Steel “is

relieved of the obligation to purchase additional allowances.”4

Appx14333. The carbon emission permits do not meet the catch-all

definition of benefit and Commerce fails to sufficiently explain with

substantial evidence how the definition is met. Appx1048-1053.

Permits are not inputs, goods or services for which Hyundai Steel is

paying less than it otherwise would. Nor is Hyundai Steel receiving

more revenue than it would otherwise earn. To the contrary, the carbon

emission caps impose emission reduction obligations that increase costs.

Appx10142; Appx11920; Appx11922; Appx13715; see also Appx1302;

Appx1314. Hyundai Steel received less revenue than it would

otherwise earn because of the increased costs it was forced to incur due

to the KETS program. Appx13712-13713; Appx11913-11914;

Appx11921.



  4
    Commerce did not find that any provision other than the catch-all
definition applied to the KETS in the Final Results. Appx 1048-1053.

                                     36
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 45 of 71




                 a. The KETS Program Imposes Burdens On Hyundai
                    Steel.

     As discussed, the KETS was established in order to reduce Korea’s

national greenhouse gas emissions levels and to comply with the Paris

Agreement. Appx10155. The permit system is the means by which the

GOK sets carbon emissions caps because it requires subject entities to

surrender the number of permits that is equivalent to their actual

emissions levels at the end of each compliance year or else face

substantial fines. Appx10142. To the extent certain sectors that are

subject to the emissions reduction requirements are allocated slightly

more emissions permits, this just means they are burdened slightly less

than companies with lower emissions permit allocations. Neither sector

are receiving benefits, let alone countervailable benefits.

     Korean entities that emit over a certain volume of carbon dioxide

or equivalents over a three-year period are “mandatorily subject to the

K-ETS.” Appx10165; Appx14329; Appx11583; Appx14329. These

companies are required to participate because they would not otherwise

subject themselves to a program that increases their costs. Appx10142.

All companies subject to this program are allocated emissions permits

by the GOK, the level of which are representative of the emissions

                                    37
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 46 of 71
                                                  NON-CONFIDENTIAL


limits the GOK imposes on each company. Appx10140-10142. In

addition to the cost of compliance and tracking allocated permits, the

allocation of emissions permits acts as an effective cap on the emissions

volumes of the subject companies and therefore acts as a restriction on

those forced to participate. Appx10156. Commerce acknowledged the

burden that the permits impose. Specifically, Commerce explained that

“fewer KAUs {are} issued in later phases in order to place a greater

burden on participants to limit their greenhouse gas emissions over

time.” Appx14330 (emphasis added).

      For Hyundai Steel specifically, it had to purchase [              ]

permits at a cost of [               ] KRW—a significant financial

burden. Appx13712-13713; Appx13881-13883. Hyundai Steel had to

purchase these additional emissions permits from private entities

because its actual emissions exceeded the cap placed on it by the KETS

program. Appx13712-13713; Appx11922. In addition, Hyundai Steel

made significant investments in a cogeneration project that will

ultimately reduce its carbon emissions in the future. Appx13715.

Hyundai Steel expended these tremendous sums to avoid the costly

fines the GOK imposes on those who do not surrender enough emissions


                                    38
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 47 of 71
                                                   NON-CONFIDENTIAL


permits to cover all of their actual emissions during a compliance year.

Appx10164; Appx11602. Thus, it is evident that even with the

allocation of emissions permits, Hyundai Steel suffered a significant

financial burden to comply with this program, and it in no way provided

Hyundai Steel with a benefit. Notably, Hyundai Steel was not alone in

this shortfall. The GOK reported that during compliance year 2019,

private parties traded [

                                           ]. Appx14154. When the

program is examined as a whole, it is clear that no benefit can possibly

exist from the KETS, and instead the program places a significant

financial burden on those subject to it.

     In the Final Results, Commerce selectively focuses on the fact that

some subject companies are allocated 100 percent of their assigned

permits whereas others are allocated 97 percent. Appx1049. Commerce

claims that the additional 3 percent “means” that certain industries are

given “a benefit not available” to industries who receive 97 percent, and

are “thus favored with respect to the granting of emissions permits.” Id.

The fact that Hyundai Steel received a 100 percent of its assigned

permits rather than 97 percent does not mean that it benefited from a


                                    39
     Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 48 of 71




program that imposes burdens that fundamentally limit and alter its

operations and force it to internalize costs that it would not incur but

for the program. In reviewing whether an alleged program provides a

benefit, Commerce must review the program as a whole and cannot

selectively analyze the benefit in isolation from the overall program.

GOSL, 308 F. Supp. 3d at 1380. Commerce’s determination is arbitrary

because it fails to provide rationale or any legal authority to selectively

view one aspect of the KETS, and thus misconstrues the program out of

context and without rationally dismissing evidence that detracts from

its determination. E.g., CS Wind Vietnam Co. v. United States, 832

F.3d 1367, 1373 (Fed. Cir. 2016) (quoting Gerald Metals, Inc. v. United

States, 132 F.3d 716, 720 (Fed. Cir. 1997) (“{T}he substantiality of

evidence must take into account whatever in the record fairly detracts

from its weight.’’).

      Commerce claims that whether the KETS “covers all entities

within {Korea} and whether the program results in a burden” is “not the

focus of {its} analysis.” Appx1048. In doing so, Commerce refuses to

“compare the burden placed on all companies subject to the overarching

K-ETS program to companies not subject to the K-ETS program.”


                                    40
      Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 49 of 71




Appx1048. The issue is not just whether all “Korean companies are

subject to the K-ETS program,” but whether a benefit is conferred by

the KETS pursuant to 19 U.S.C. § 1677(5)(E). Appx1048.

       Commerce selectively compares Hyundai Steel to companies who

receive 97 percent of their assigned permits while disregarding all other

companies. But such a narrow comparison disregards, without reason,

that both Hyundai Steel and companies who receive 97 percent of their

assigned permits are disadvantaged vis-à-vis companies that are not

subject to the KETS. Importantly, the latter category includes not only

companies in Korea who are not subject to the KETS but also all foreign

companies anywhere against which Hyundai Steel competes, including

companies in the United States, whose emissions are not capped based

on emissions levels from 2014 to 2016. Appx14330 (“{P}articipants were

required to submit emissions data for the years 2014 to 2016, with the

GOK relying on this data to calculate a benchmark allowance of KAUs

for each entity.”).5 It cannot be said that Hyundai Steel received a

benefit from the KETS that unfairly advantages it over U.S.



  5  At most, the record supports that the only U.S. companies subject
to similar burdens are those in California. Appx10163 n.6.

                                    41
      Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 50 of 71




competitors such that a countervailing duty is necessary to level the

playing field for the domestic industry.6 See Zenith Radio Corp. v.

United States, 437 U.S. 443, 455-56, 98 S. Ct. 2441, 2448 (1978) (“The

countervailing duty was intended to offset the unfair competitive

advantage that foreign producers would otherwise enjoy from export

subsidies paid by their governments.”).

                  b. Commerce May Not Disregard The Burdens That
                     The KETS Imposes.

       Instead of rationally reconciling the evidence that the KETS

program burdens Hyundai Steel such that a benefit has not been

conferred, Commerce in the Final Results merely claims that it does not

have to consider such evidence because it is not required to take into

account the “effects” of the KETS program pursuant to Section

771(5)(C). Appx1047; Appx1049. Commerce states that whether the

program “affects the recipient’s behavior is not material to Commerce’s

determination as to whether a countervailable benefit {has been}



  6
    In fact, the GOK calibrated the 100 percent allocation to Hyundai
Steel precisely because Hyundai Steel, unlike other Korean companies
who receive the 97 percent allocation, is exposed to competition with
foreign companies that are not subject to emission caps. Appx10139-
10140; Appx10142; Appx10156.

                                    42
      Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 51 of 71




conferred.” Appx1047. It is true that section 771(5)(C) provides that

Commerce is “not required to consider the effect of the subsidy in

determining whether a subsidy exists.” 19 U.S.C. § 1677(5)(C).7

However, the court has clarified that it is “not in accordance with

Section 1677(5)(C)” for Commerce to “selectively analyze” purported

benefit payments “in isolation” from the overall program. GOSL, 308 F.

Supp. 3d at 1380. Accordingly, in the Final Results, Commerce may not

disregard record evidence that the program at issue burdens Hyundai

Steel.

       Commerce relies on the “CVD Preamble” as authority to

selectively analyze the allocation of permits within the KETS.

Appx1047; Countervailing Duties, 63 Fed. Reg. 65,348, 65,361 (Dep’t

Commerce Nov. 25 1998) (“CVD Preamble”). Commerce claims that the

CVD Preamble provides an example that allegedly “speaks directly to



  7
    Section 771(5)(C) was added to the statute to clarify that “the new
definition of subsidy does not require Commerce to consider or analyze
the effect . . . of a government action on the price or output of the class
or kind of merchandise under investigation or review.” Uruguay Round
Agreements Act, Statement of Administrative Action, H.R. Doc. No.
103–316, vol.1, at 159 (1994), reprinted in 1994 U.S.C.C.A.N. 4040,
4240 (emphasis added) (“SAA”). The effect of the KETS allocations on
the price or output of the merchandise is not at issue.

                                    43
    Case 1:22-cv-00029-MMB Document 38-2     Filed 08/05/22   Page 52 of 71




the circumstances in this case,” Appx1047, but is actually inapposite to

the allocation of permits. The referenced example from the CVD

Preamble assumes that a government establishes new environmental

regulations that require a firm to purchase new equipment and

provides a subsidy to purchase the new equipment, but the “net effect”

of the subsidy does not “fully offset” the total cost increase as a result of

the environmental restrictions. CVD Preamble, 63 Fed. Reg. at 65,361.

Ultimately, the example in the CVD Preamble concludes that the

subsidization of the equipment purchase provides a benefit “because

this action represents an input cost reduction,” and the requirement to

install the equipment “cannot be construed as an offset to the subsidy.”

CVD Preamble, 63 Fed. Reg. at 65,361 (emphasis added). Commerce

exaggerates the relevance of the example in the CVD Preamble.

     The example in the CVD Preamble is inapposite because Hyundai

Steel is not purchasing an input, is not arguing for an offset to the

benefit calculation, and the burdens that result from the KETS are

directly relevant to the issue of whether a benefit has been conferred.

The key point in the CVD Preamble example is the fact that the subsidy

reduces the cost for an input, the equipment. CVD Preamble, 63 Fed.


                                     44
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 53 of 71




Reg. at 65,361. The relative allocation of permits to Hyundai Steel does

not reduce its cost for inputs. Rather the imposition of carbon caps

implemented via the allocation of permits increases costs regardless of

the relative allocation amount that Hyundai Steel receives. Appx10142;

Appx10155-10156; Appx11920; Appx11922-11924; Appx13715. The

CVD Preamble assumes that the “subsidy” described in the example

would take the form of situations similar to those outlined in Section

771(5)(E) and 19 C.F.R.§ 351.503(b), i.e., input cost reductions or

revenue enhancement, which are not at issue in the allocation of

emissions cap amounts. The provision of 100 percent emissions permits

is not a reduction in costs like the equipment subsidy in the CVD

Preamble.

     Additionally, the example in the CVD Preamble finds that the

“requirement to install the equipment cannot be construed as an offset

to the subsidy provided to reduce the costs of installing the equipment.”

CVD Preamble, 63 Fed. Reg. at 65,361 (emphasis added). Despite

Commerce’s insinuations, Appx1048, Hyundai Steel has not claimed

that the alleged benefit should be “offset” pursuant to Section 771(6), 19




                                    45
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 54 of 71




U.S.C. § 1677(6), but argued that the KETS program does not confer a

benefit and instead imposes burdens, Appx14421-14427.

     Therefore, neither the CVD Preamble nor Section 771(5)(C)

support Commerce’s determination to find that the relative allocation to

Hyundai Steel within the KETS program provides a benefit despite the

resulting costs that burden and disadvantage Hyundai Steel. Instead,

the CVD Preamble contemplates a countervailable benefit as an input

cost reduction or revenue enhancement like the statute and regulation.

19 U.S.C. § 1677(5)(E); 19 C.F.R. § 351.503(b). As the CVD Preamble

states, the catch-all definition of benefit captures the “underlying theme

behind the definition of benefit contained in section 771(5)(E)” and

“reflects the fundamental principles” in Commerce precedent: whether

the recipient “enjoys a reduction in input costs or revenue enhancement

that it would not otherwise have enjoyed.” CVD Preamble, 63 Fed. Reg.

at 65,359-60 (emphasis added). The relative allocation of permits to

Hyundai Steel, which represents the cap on its emissions, does not

benefit Hyundai Steel. Hyundai Steel has not paid less for inputs or

earned more revenues than it would have otherwise as required

pursuant to 19 C.F.R. § 351.503(b), and Commerce failed to explain how


                                   46
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 55 of 71




those regulatory elements are met in the Final Results. Appx1047-

1049; Appx1053.

           3.     The KETS Program Is Not Specific.
                  a. The KETS Is Not Specific Pursuant To Section
                     771(5A)(D)(i).

     In the Post-Preliminary Results, Commerce determined that the

carbon emissions permit program was de jure specific under 19 U.S.C.

§ 1677(5A)(D). Appx14332. As support, Commerce found that Article

12(4) of the Act on the Allocation and Trading of Greenhouse Gas

Emissions Permits (“AAGEP”) and Article 14 of its Enforcement Decree

“delineate{} the criteria for determining which sectors and sub-sectors

qualify for the additional KAU allotment” and companies that fall

within the “sectors and sub-sectors that the GOK determined as trade

intensive and/or high production cost sectors automatically qualify for

the additional free three precent {sic} KAU allocation from the GOK.”

Appx14332. In the Final Results, Commerce continued to determine

that the 3 percent permit allocation is de jure specific because the

AAGEP and its Enforcement Decree allegedly “establish explicit

limitations” regarding “which industries qualify for the additional

allocation” of permits, and the trade intensity and production cost

                                    47
    Case 1:22-cv-00029-MMB Document 38-2      Filed 08/05/22   Page 56 of 71




criteria “are not objective criteria or conditions.” Appx1052. However,

the criteria in Article 12(4) of the AAGEP and Article 14 of the

Enforcement Decree do not “explicitly limit” such treatment “to a

specific enterprise or industry” as required to be de jure specific.

Commerce’s de jure specificity determination is thus not supported by

substantial evidence and is otherwise not in accordance with law.

      Pursuant to Section 771(5A) of the Tariff Act, a subsidy may be

specific “in law or in fact.” 19 U.S.C. § 1677(5A)(D). In its Final

Results, Commerce found the KETS to be specific as a matter of law

under Section 771(5A)(D), Appx1052, which provides as follows:

         (i) Where the authority providing the subsidy, or the
         legislation pursuant to which the authority operates,
         expressly limits access to the subsidy to an enterprise or
         industry, the subsidy is specific as a matter of law.

19 U.S.C. § 1677(5A)(D). The court recently addressed the plain

meaning of Section 771(5A)(D)(i) in Asociación de Exportadores e

Industriales de Aceitunas de Mesa v. United States. ASEMESA, 523 F.

Supp. 3d at 1393.

      In ASEMESA, the court held that the “plain meaning of the

statute is that a subsidy is de jure specific when the authority providing

the subsidy, or its operating legislation, directly, firmly, or explicitly

                                     48
    Case 1:22-cv-00029-MMB Document 38-2     Filed 08/05/22   Page 57 of 71




assigns limits to or restricts the bounds of a particular subsidy to a

given enterprise or industry.” ASEMESA, 523 F. Supp. 3d at 1403. In

applying this unambiguous reading, the court rejected Commerce’s

interpretation that the statute permitted a de jure specificity finding

when, by law, “there {was} no uniform treatment across the {relevant}

sector in the provision of benefits.” ASEMESA, 523 F. Supp. 3d at

1403. The lack of uniform treatment of the agricultural sector, which

was the relevant sector in that case, was “not equivalent to its explicit

restriction of those benefits to a specific enterprise or industry.”

ASEMESA, 523 F. Supp. 3d at 1403. Accepting such a reading, the

court said, “reduces the de jure specificity test to a general finding of

non-uniform treatment, without any determination that the subsidy in

question be explicitly limited to a specific enterprise or industry by the

administering authority or its implementing legislation.” ASEMESA,

523 F. Supp. 3d at 1403. Instead, what is required by the plain

meaning of the statute is that “the authority providing the current

subsidy, or its operating legislation, directly and explicitly prescribes

limitations on the distribution of subsidies to an enterprise or industry.”




                                     49
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 58 of 71
                                                   NON-CONFIDENTIAL


ASEMESA, 523 F. Supp. 3d at 1404. The record here does not

demonstrate that AAGEP meets the requirements to be de jure specific.

     The trade intensity and production cost criteria do not “explicitly

limit” the 100 percent allocation “to a specific enterprise or industry” as

required to be de jure specific. The AAGEP and Article 14 of the

Enforcement Decree do not “express” that a certain enterprise or

industry is ineligible for the 100 percent allocation. Appx11586-11587;

Appx11638. Any subsector may meet the trade intensity or production

cost thresholds regardless of enterprise or industry. As more entities

become subject to the KETS over time, more subsectors will either

qualify or not qualify based on the criteria in the AAGEP. Appx10168

(showing that [

                                         ]). As Commerce itself admits,

the program does “not name specific industries.” Appx1052. These

facts alone establish that the KETS does not meet the statutory

requirements pursuant to Section 771(5A)(D)(i).

     Nonetheless, application of the trade intensity and production cost

criteria demonstrate that the KETS lacks an express limitation. The

criteria set standards that required collection and analysis of data from


                                    50
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 59 of 71




2013 to 2016 regarding each subsector’s imports, exports, sales,

production, and emissions. Appx10139-10140; Appx15500. Those

factors were chosen to determine (a) whether subsectors were exposed

to competition from markets that were not subject to similar emissions

caps and (b) the impact that the KETS emission cap may have on each

potentially affected subsector. Appx10139-10140. Notably, the GOK

set the criteria with the Enforcement Decree on December 29, 2017,

Appx11615; Appx11638, and then determined which subsectors

received the 100 percent allocation using the criteria, which were not

proposed until July 9, 2018. Appx15496; Appx15504. In order to

implement Phase Two of the KETS, the GOK had to further divide the

26 subsectors from phase one into 63 subsectors for Phase Two such

that it could determine which subsectors met the criteria of the AAGEP.

Appx10140; Appx15500. The GOK could not have “expressly limited”

the KETS allocations to an enterprise or industry because it did not yet

know which subsectors met the criteria.

     In the Final Results, Commerce finds that the trade intensity and

production cost criteria are express statutory limitations because they

set “thresholds that industries must meet in order to qualify.”


                                   51
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 60 of 71




Appx1052. Thus, Commerce determined that the program was specific

because the AAGEP and the Enforcement Decree allegedly “establish

that some industries may benefit from the additional assistance, . . .

while others do not.” Id. However, pursuant to the holding in

ASEMESA, such non-uniform treatment under the AAGEP is not

sufficient to find this program is de jure specific because the alleged

failure to treat all enterprises or industries uniformly does not equate to

an “explicit restriction” to specific enterprises or industries. ASEMESA,

523 F. Supp. 3d at 1403. Section 771(5A)(D)(i) unambiguously dictates

that, to be de jure specific, the program must “directly, firmly, or

explicitly assign limits to or restricts the bounds of a particular subsidy

to a given enterprise or industry.” ASEMESA, 523 F. Supp. 3d at 1403.

As explained, the AAGEP and Article 14 of the Enforcement Decree do

not expressly delineate enterprises or industries to which the 100

percent allocations would be limited. Appx11586-11587; Appx11638.

Moreover, the program could not have expressly limited the allocations

to specific enterprises or industries because, at the time of the

establishing the trade intensity and production cost criteria, the GOK

itself was unaware of the precise entities or subsectors to which the


                                    52
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 61 of 71




permit allocations would ultimately apply. Appx15496; Appx15504;

Appx11615; Appx11638.

     The Final Results also recite the trade intensity and production

cost criteria and then, without explanation, find that “as such,” the

AAGEP and its Enforcement Decree “establish explicit limitations.”

Appx1052. However, this is a mere recitation of the criteria at issue

and then a conclusory statement without any reasonable explanation

tying the applicable law to the facts found. Id. Conclusory statements

without more are insufficient to support Commerce’s determination.

ASEMESA, 523 F. Supp. 3d at 1403 n.1; see also Asociación de

Exportadores e Industriales de Aceitunas de Mesa v. United States, 429

F. Supp. 3d 1325, 1340 (Ct. Int’l Trade 2020). Commerce must provide

an adequate explanation that demonstrates a rational connection

between the facts found and the determination made, and is required to

respond to Hyundai Steel’s arguments that highlight material evidence

that detracts from its determination. See Coalition of American Flange

Producers v. United States, 448 F. Supp. 3d. 1340, 1350, 1357-58 (Ct.

Int’l Trade 2020) (remanding Commerce’s determination where its




                                    53
    Case 1:22-cv-00029-MMB Document 38-2     Filed 08/05/22   Page 62 of 71




explanation “does not permit” the court “to discern the path of the

agency’s reasoning and fails to address detracting evidence.”).

     The requirements of subsection (i) of Section 771(5A)(D) have not

been met and Commerce’s de jure specificity determination is

unsupported by record evidence and contrary to law.

                  b. The KETS Meets The Requirements Of Section
                     771(5A)(D)(ii).
     In the Final Results, Commerce also found that the AAGEP and

the implementing rules “are not objective criteria or conditions as

defined by Section 771(5A)(D)(ii).” Appx1052. In other words,

Commerce found that the KETS program did not meet the

requirements of the specificity safe harbor in Section 771(5A)(D)(ii),

which provides as follows:

        (ii) Where the authority providing the subsidy, or the
        legislation pursuant to which the authority operates,
        establishes objective criteria or conditions governing the
        eligibility for, and the amount of, a subsidy, the subsidy is
        not specific as a matter of law, if—
           (I)   Eligibility is automatic,
           (II)  The criteria or conditions for eligibility are strictly
                 followed, and
           (III) The criteria or conditions are clearly set forth in
                 the relevant statute, regulation, or other official
                 document so as to be capable of verification.



                                     54
     Case 1:22-cv-00029-MMB Document 38-2     Filed 08/05/22   Page 63 of 71




      For purposes of this clause, the term “objective criteria or
      conditions” means criteria or conditions that are neutral and
      that do not favor one enterprise or industry over another.

19 U.S.C. § 1677(5A)(D)(ii) (emphasis added). Although Commerce fails

to explain how those three criteria are not met in the Final Results a

review of these criteria shows that the AAGEP and its Enforcement

Decree do meet the requirements of Section 771(5A)(D)(ii). The

program is thus not de jure specific.

      First, eligibility is automatic. As noted, the program allocates 100

percent of an entity’s assigned permits if (i) it has a “trade intensity” of

thirty percent; (ii) its production costs are at least thirty percent; or (iii)

it has a “trade intensity” of at least ten percent and production costs

that are at least five percent. Appx1052; Appx10139-10140;

Appx11638. Once any one of those criteria are met, any entity

regardless of enterprise or industry is automatically eligible for the 100

percent allocation. As the GOK explained, the full amount of the

assigned permits “shall be allocated unconditionally” to entities that

“meet the criteria.” Appx10143. Second, the criteria for eligibility are

strictly followed. The permits are “allocated strictly” pursuant to the

AAGEP and Article 14 of the Enforcement Decree. Appx10166. As the


                                      55
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 64 of 71




GOK reported, it “does not have any discretion that goes beyond the

criteria laid out.” Appx10166. Third, the criteria and conditions are

capable of verification because the GOK requires that companies submit

a report for each compliance year. Appx14157. Companies must have

that report “verified by an independent expert,” and after receipt, the

GOK conducts an additional “evaluation” of submitted reports.

Appx14157-14158. Finally, as Hyundai Steel has detailed herein, the

trade intensity and production cost criteria do not “favor one enterprise

or industry over another.” Any subsector may meet the trade intensity

or production cost thresholds regardless of enterprise or industry.

Appx11586-11587; Appx11638. The criteria are thus neutral and do not

favor one enterprise or industry over another.

     Accordingly, each requirement pursuant to Section 771(5A)(D)(ii)

has been met. Yet, in the Final Results, Commerce claims that the

trade intensity and production cost criteria are “not objective criteria or

conditions” without any explanation. Appx1052. This failure to explain

the basis for its decision further renders the Final Results unsupported

by substantial evidence. See SeAH Steel VINA Corp. v. United States,

950 F.3d 833, 847-48 (Fed. Cir. 2020) (citing CS Wind Vietnam Co., Ltd.


                                    56
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 65 of 71




v. United States, 971 F.Supp.2d 1271, 1295 (Ct. Int’l Trade 2014))

(finding Commerce’s allocation of brokerage and handling expenses by

weight unsupported where Commerce failed to explain away evidence

that demonstrated that the weight-based allocation was inapplicable to

the shipments in question); Timken Co. v. United States, 894 F.2d 385,

389 (Fed. Cir. 1990) (sustaining the trial court’s holding that Commerce

failed to explain an inconsistency in applied surrogate value data

because Commerce failed to justify its determination). The AAGEP and

the Enforcement Decree meet the requirements established pursuant to

Section 771(5A)(D)(ii). Commerce’s determination that the trade

intensity and production cost criteria are not objective criteria is thus

unsupported by substantial evidence.




                                    57
    Case 1:22-cv-00029-MMB Document 38-2    Filed 08/05/22   Page 66 of 71




VIII. Conclusion And Relief Requested
     Based on the foregoing, Hyundai Steel respectfully requests that

this Court (i) hold that Commerce’s Final Results are unsupported by

substantial evidence and otherwise not in accordance with the law; (ii)

remand the case to Commerce with instructions to correct the errors

identified by the Court; and (iii) for such other relief that the Court

deems just and proper.

                                         Respectfully submitted,

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                                    58
    Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 67 of 71




                        Certificate Of Compliance
     The undersigned hereby certifies that the foregoing brief complies

with the Standard Chambers Procedures of the U.S. Court of

International Trade in that it contains 10,801 words including text,

footnotes, and headings and excluding the table of contents, table of

authorities and counsel’s signature block, according to the word count

function of Microsoft Word 2016 used to prepare this brief.

                                             /s/ Brady W. Mills
                                             Brady W. Mills
Dated: August 5, 2022




                                   59
Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 68 of 71




                          Exhibit A
                          Case 1:22-cv-00029-MMB Document 38-2      Filed 08/05/22   Page 69 of 71

    SINCE 1828




due              adjective
        Save Word
\ ˈdü     , ˈdyü \

Definition of due (Entry 1 of 3)
1    : owed or owing as a debt
     // is due a full week's pay

2    a    : owed or owing as a natural or moral right
          // finally got the recognition she was due
          // give credit where credit is due
          // everyone's right to dissent … is due the full protection of the Constitution
          — Nat Hentoff
     b    : according to accepted notions or procedures : APPROPRIATE
          // with all due respect

3    a    : satisfying or capable of satisfying a need, obligation, or duty : ADEQUATE
          // giving the matter due attention
     b : REGULAR, LAWFUL
       // due proof of loss

4    : capable of being attributed : ASCRIBABLE —used with to
     // this advance is partly due to a few men of genius
     — A. N. Whitehead

5    : having reached the date at which payment is required : PAYABLE
     // the rent is due

6    : required or expected in the prescribed, normal, or logical course of events : SCHEDULED
     // The train is due at noon.
     // When is the baby due?
     also : expected to give birth
     // has a friend who is due in April



due        noun
Definition of due (Entry 2 of 3)
: something due (see DUE entry 1) or owed: such as
a    : something that rightfully belongs to one
     // give him his due
b    : a payment or obligation required by law or custom : DEBT
c    dues plural : FEES, CHARGES
     // membership dues



due        adverb
Definition of due (Entry 3 of 3)
Case 1:22-cv-00029-MMB Document 38-2   Filed 08/05/22   Page 70 of 71




                          Exhibit B
                        Case 1:22-cv-00029-MMB Document 38-2      Filed 08/05/22   Page 71 of 71

    SINCE 1828




otherwise                          pronoun
      Save Word
oth·​er·​wise | \ ˈə-t͟ hər-ˌwīz    \

Definition of otherwise (Entry 1 of 3)
: something or anything else : something to the contrary
// was ordered to testify and could not do otherwise



otherwise               adverb
Definition of otherwise (Entry 2 of 3)
1    : in a different way or manner
     // glossed over or otherwise handled
     — Playboy
     // All shows begin at 8:00 unless otherwise noted.

2    : in different circumstances
     // might otherwise have left
     // The test helps identify problems that might have otherwise gone unnoticed.

3    : in other respects
     // an otherwise flimsy farce
     — Current Biography
     // I didn't like the ending, but otherwise it was a very good book.
     // The patient had a foot problem, but she was otherwise healthy.

4    : if not
     // do what I tell you, otherwise you'll be sorry
     // Tickets can be bought in advance at a discount; otherwise they can be purchased at the
     door for full price.

5    : NOT —paired with an adjective, adverb, noun, or verb to indicate its contrary or to
     suggest an indefinite alternative
     // people whose deeds, admirable or otherwise
     — John Fischer
     // almost thirty thousand women, Irish and otherwise
     — J. M. Burns
     // his opinion as to the success or otherwise of it
     — Australian Dictionary of Biography



otherwise               adjective
Definition of otherwise (Entry 3 of 3)
: DIFFERENT
// if conditions were otherwise

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